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 4
     Attorney for: MICHAEL LEON W ILLIAMS
 5

 6                      IN THE UNITED STATES DISTRICT COURT

 7                    FOR THE EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                          )   No. CR-S-09-196 GEB
                                                        )
10                      Plaintiff,                      )
                                                        )   STIPULATION AND ORDER
11         vs.                                          )   CONTINUING STATUS
                                                        )   HEARING
12   MICHAEL LEON W ILLIAMS, et. al.                    )
                                                        )
13                      Defendant.                      )
                                                        )
14

15         Defendant: MICHAEL LEON W ILLIAMS, through his attorney, PETER

16   KMETO, and the United States of America, through its counsel of record, MICHAEL

17   BECKW ITH, stipulate and agree to the following:

18         1. The presently scheduled date of March 16, 2012 for Status Hearing shall

19         be vacated as to defendant, MICHAEL LEON W ILLIAMS, only, and said

20         Hearing be rescheduled for April 20, 2012 at 9:00 a.m..

21         2. Settlement negotiations are currently being conducted and will have

22         concluded by April 20, 2012. Accordingly, the parties stipulate that time be

23         excluded from March 16, 2012 to April 20, 2012 pursuant to 18 U.S. C.

24         §3161(h)(7)(A) and 18 U.S.C. §3161(h)(8)(B)(iv) [Local Code T4] –additional

25         time to adequately prepare for pretrial proceedings. The parties further

26         stipulate that the interests of justice outweigh the defendant’s and the

27         public’s interest in a speedy trial.

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 1         IT IS SO STIPULATED.

 2   Dated:   March 14, 2012                   /s/ MICHAEL BECKWITH
 3                                            Assistant U.S. Attorney
                                              for the Government
 4

 5
     Dated: March 14, 2012                    /s/ PETER KMETO
 6
                                              Attorney for Defendant
 7                                            MICHAEL LEON W ILLIAMS

 8

 9
                                              ORDER
10
                  UPON GOOD CAUSE SHOW N and the stipulation of the two parties,
11
     it is ordered that the hearing for STATUS HEARING as to Defendant, W ILLIAMS,
12
     only, be continued as set forth above.
13

14                The Court finds excludable time pursuant to 18 U.S.C. § 3161(h)(7)(A),

15   18 U.S.C. §3161(h)(8)(B)(iv) and Local Rule T-4 from March 16, 2012 until April 20,

16   2012 for continuity of defense counsel and time to permit defense counsel to

17   prepare and properly advise his client. The Court further finds that the interests of

18   justice outweigh the defendant’s and the public’s interest in a speedy trial.

19
     Dated: March 14, 2012
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22                                        GARLAND E. BURRELL, JR.
                                          United States District Judge
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